EXHIBIT E
SHELLPOINT MORTGAGE SERVICING
PO BOX 7050
TROY MI 48007-7050




                                GREGG CARDIN
                                4928 W CARMEN AVE
                                CHICAGO IL 60630
PO Box 7050 Troy MI 48007-7050


February 10, 2020

GREGG CARDIN
4928 W CARMEN AVE
CHICAGO, IL 60630

Subject:         Second and final notice - please provide insurance information for:
                 Property Address: 1550 S BLUE ISLAND AVE UNIT
                                   CHICAGO, IL 60608 0000
                 Loan Number:

Dear GREGG CARDIN :

This is your second and final notice that our records show that your homeowner’s association
(HOA) hazard insurance expired, and we do not have evidence that your homeowner’s association
has obtained new coverage. Because homeowner’s association (HOA) hazard insurance is
required on your property, we plan to buy insurance for your property. You must pay us for any
period during which the insurance we buy is in effect but you do not have insurance.

You should immediately provide us with your insurance information. We urge you to contact your
Homeowner’s Association to obtain current evidence of homeowner’s association (HOA) hazard
insurance for your property referenced above. This information must be provided in writing and can
be faxed to our Insurance Department at (248) 878-2370. You may also submit your insurance policy
online at https://www.ExpressInsuranceInfo.com/2919836, or mail it to the following address:

                                     Shellpoint Mortgage Servicing
                                            ISAOA / ATIMA
                                             PO Box 7050
                                         Troy, MI 48007-7050

The insurance we buy:

        Will cost an estimated $1,958.88 annually, which may be significantly more expensive
         than the insurance you can buy yourself.
        May not provide as much coverage as an insurance policy you buy yourself.




        HOAWARN2 – 08/08/2019            TTY Service is available by contacting 711    v.01/01/2017
PO Box 7050 Troy MI 48007-7050




If you have any questions, please contact us at (877) 491-7277.

Please review additional information provided in the same transmittal.

Sincerely,

Shellpoint Mortgage Servicing
Insurance Department

Phone:           (877) 491-7277 Monday - Friday, 8 am to 6 pm ET
Fax:             (248) 878-2370




       HOAWARN2 – 08/08/2019             TTY Service is available by contacting 711   v.01/01/2017
PO Box 7050 Troy MI 48007-7050


Loan Number:


                                  SUPPLEMENTAL INFORMATION

Shellpoint Mortgage Servicing is a debt collector. This letter is an attempt to collect a debt and any
information obtained will be used for that purpose. To the extent that your obligation has been
discharged or is subject to an automatic stay of bankruptcy this notice is for compliance and
informational purposes only and does not constitute a demand for payment or any attempt to collect
such obligation.

Please be aware of your obligation to maintain homeowner’s association hazard insurance on the
property referenced on the first page of this letter that secures your federally related mortgage. We
may obtain insurance coverage at your expense if you do not provide documentation of your existing
coverage in a timely manner. The insurance cost may be significantly higher than the cost of
insurance you can buy yourself. The insurance we purchase may only protect Shellpoint’s interest
and not your interest.

If you desire to maintain your voluntary insurance policy, we can advance the premium due from your
escrow account if you: (a) accept the offer of the escrow account; (b) provide a copy of the invoice
from your insurance company (c) agree in writing to reimburse the escrow advances through regular
escrow payments (d) agree to escrow for the repayment of the advanced premium and to pay for
future premiums necessary to maintain the required policy; and (e) agree that we will manage the
escrow account in accordance with the loan documents and with state and federal law.
